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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                                         ENTERED
                                                                                                          02/15/2019
                                                             §
In re:                                                       §     Chapter 11
                                                             §
SANDRIDGE ENERGY, INC., et al.,1                             §     Case No. 16-32488 (DRJ)
                                                             §
                         Reorganized Debtors.                §     Jointly Administered
                                                             §
                                                             §
Baker Farms, Inc. and Steven T. Bouziden                     §
Revocable Trust, Steven T. Bouziden, Trustee,                §
                                                             §
                         Royalty Owners,                     §     Adv. No. 16-03223
                                                             §
          v.                                                 §
                                                             §
SandRidge Exploration and Production, LLC,                   §
                                                             §
                         Reorganized Debtor.                 §
                                                             §

    STIPULATION AND AGREED ORDER DISMISSING ADVERSARY PROCEEDING
                                         (Docket No. 49)
         This Stipulation and Agreed Order (“Stipulation”) is entered into this 12th of February,

2019, between Defendant SandRidge Exploration and Production, LLC and Plaintiffs Baker

Farms Inc. and Steven T. Bouziden, Trustee, who stipulate and agree as follows.

         WHEREAS, Plaintiffs and Defendant have agreed to dismiss this above-captioned

adversary proceeding without prejudice;


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         The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized
Debtor’s federal tax identification number, include: SandRidge Energy, Inc. (4793); 4th Street Properties, LLC
(N/A); Black Bayou Exploration, L.L.C. (0561); Braniff Restaurant Holdings, LLC (2453); CEBA Gathering, LLC
(6478); CEBA Midstream GP, LLC (0511); CEBA Midstream, LP (7252); Cholla Pipeline, L.P. (5092); Cornhusker
Energy, L.L.C. (4609); FAE Holdings 389322R, LLC (N/A); Integra Energy, L.L.C. (7527); Lariat Services, Inc.
(0702); MidContinent Resources, LLC (6928); Mistmada Oil Company, Inc. (3032); Piñon Gathering Company,
LLC (5943); Sabino Exploration, LLC (1929); Sagebrush Pipeline, LLC (0515); SandRidge CO2, LLC (7903);
SandRidge Exploration and Production, LLC (6535); SandRidge Holdings, Inc. (8401); SandRidge Midstream, Inc.
(1148); SandRidge Operating Company (1245); SandRidge Realty, LLC (6079); Sierra Madera CO2 Pipeline, LLC
(1558); and WTO Gas Gathering Company, LLC (N/A). The location of the Reorganized Debtors’ service address
is: 123 Robert S. Kerr Avenue, Oklahoma City, Oklahoma 73102.


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       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

APPROVAL BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO

ORDERED as follows:

       1.     The above-captioned adversary proceeding is hereby dismissed, without

prejudice, without costs or attorneys’ fees to any party, pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, and Rule 7041 of the Federal Rules of Bankruptcy Procedure.

Stipulated and agreed by:

Dated: February 12, 2019                    Respectfully Submitted,


                                            /s/ Charles Rubio
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                                            - and -

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                                            Counsel for Baker Farms, Inc. and Steven T.
                                            Bouziden Revocable Trust, Steven T. Bouziden,
                                            Trustee




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                                           /s/ Mark McKane, P.C.
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                                           - and -

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                                           Counsel for the Reorganized Debtors

SO ORDERED this __ day of _______, 2019:


      Signed: February 14, 2019.                  HONORABLE DAVID R. JONES
                                                  CHIEF BANKRUPTCY JUDGE
                                                   ____________________________________
                                                   DAVID R. JONES
                                                   UNITED STATES BANKRUPTCY JUDGE



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